          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 1 of 13



 1   Jennifer Chang Newell (SBN 233033)                    Lee Gelernt*
     Cody Wofsy (SBN 294179)                               Judy Rabinovitz*
 2   Spencer Amdur (SBN 320069)                            Omar C. Jadwat*
     Julie Veroff (SBN 310161)                             Celso Perez (SBN 304924)
 3   ACLU FOUNDATION                                       ACLU FOUNDATION
     IMMIGRANTS’ RIGHTS PROJECT                            IMMIGRANTS’ RIGHTS PROJECT
 4   39 Drumm Street                                       125 Broad Street, 18th Floor
     San Francisco, CA 94111                               New York, NY 10004
 5   T: (415) 343-0770                                     T: (212) 549-2660
     F: (415) 395-0950                                     F: (212) 549-2654
 6   jnewell@aclu.org                                      lgelernt@aclu.org
     cwofsy@aclu.org                                       jrabinovitz@aclu.org
 7   samdur@aclu.org                                       ojadwat@aclu.org
     jveroff@aclu.org                                      cperez@aclu.org
 8

 9   Attorneys for Plaintiffs (Additional counsel listed on following page)

10                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
11
     East Bay Sanctuary Covenant, et al.,
12                                                            Case No.: 18-cv-06810-JST
                    Plaintiffs,
13
                    v.                                        REPLY IN SUPPORT OF MOTION
14                                                            FOR PRELIMINARY INJUNCTION
     Donald J. Trump, President of the United States, et
15   al.,                                                     Hearing: December 19, 2018, 9:30 a.m.
16                  Defendants.

17

18

19

20

21

22

23

24

25

26

27

28
          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 2 of 13



 1   Melissa Crow*                            Baher Azmy*
     SOUTHERN POVERTY LAW CENTER              Angelo Guisado*
 2   1666 Connecticut Avenue NW, Suite 100    Ghita Schwarz*
     Washington, D.C. 20009                   CENTER FOR CONSTITUTIONAL RIGHTS
 3   T: (202) 355-4471                        666 Broadway, 7th Floor
     F: (404) 221-5857                        New York, NY 10012
 4   melissa.crow@splcenter.org               T: (212) 614-6464
                                              F: (212) 614-6499
 5   Mary Bauer*                              bazmy@ccrjustice.org
     SOUTHERN POVERTY LAW CENTER              aguisado@ccrjustice.org
 6   1000 Preston Avenue                      gshwartz@aclu.org
     Charlottesville, VA 22903
 7   T: (470) 606-9307                        Christine P. Sun (SBN 218701)
     F: (404) 221-5857                        Vasudha Talla (SBN 316219)
 8   mary.bauer@splcenter.org                 AMERICAN CIVIL LIBERTIES UNION
                                              FOUNDATION OF NORTHERN
 9                                            CALIFORNIA, INC.
                                              39 Drumm Street
10                                            San Francisco, CA 94111
                                              T: (415) 621-2493
11                                            F: (415) 255-8437
                                              csun@aclunc.org
12   Attorneys for Plaintiffs                 vtalla@aclunc.org
13   *Admitted pro hac vice
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 3 of 13



 1                                                     INTRODUCTION
 2            Both this Court and the Ninth Circuit have already held that Plaintiffs have standing and are
 3
     likely to succeed on the merits, and that the rule should be enjoined in full. See East Bay Sanctuary
 4
     Covenant v. Trump, 2018 WL 6428204 (9th Cir. Dec. 7, 2018) (hereinafter CA9 Op.); TRO Order.
 5
     The administrative record offers nothing to disturb those conclusions, and the government has not
 6
 7   submitted any additional evidence.

 8            Congress long ago determined that an individual’s manner of entry should not categorically
 9   bar her from asylum in the United States. Unsatisfied with that determination, “the Executive has
10
     attempted an end-run around Congress,” CA9 Op. *17, and has done so in a way that causes
11
     irreparable harm to Plaintiffs and threatens the safety of thousands of individuals seeking refuge
12
     from persecution. But, as the Ninth Circuit observed, just as judges “may not . . . ‘legislate from the
13
14   bench,’ neither may the Executive legislate from the Oval Office.” Id. 1

15       I. PLAINTIFFS’ CLAIMS ARE JUSTICIABLE

16            This Court and the Ninth Circuit have held this case is justiciable, and the government has
17   not adduced new evidence on that issue. The government simply reiterates its legal arguments that
18
     Plaintiffs cannot establish standing under Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), or
19
     an economic-loss theory, see Opp. 5, but that position is foreclosed by the Ninth Circuit’s decision,
20
     see CA9 Op. *10-12.2
21
22            First, as the Ninth Circuit and this Court recognized, the Rule plainly frustrates Plaintiffs’

23   mission. See id. at *11 (recognizing frustration of certain Plaintiffs’ “mission of providing legal aid

24   ‘to affirmative asylum applicants who have entered’ the United States between ports of entry,
25
26   1
      Plaintiffs advise the Court that the government sought a stay in the Supreme Court on Tuesday December 11, 2018.
     That stay application remains pending.
27
     2
      Plaintiffs respectfully disagree with the Ninth Circuit’s conclusion that they do not have third-party standing to sue, see
28   CA9 Op. *10, and preserve the argument for appeal. See Motion for Preliminary Injunction (“Mot.”) at 11-12.



                                   Reply ISO Motion for Preliminary Injunction 1                    Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 4 of 13



     because the Rule significantly discourages a large number of those individuals from seeking asylum
 1
 2   given their ineligibility”); TRO Order 11 (holding Plaintiffs’ “mission has been frustrated in

 3   numerous cognizable ways”); see also Mot. 9 (citing Plaintiff declarations). Plaintiffs “have also

 4   offered uncontradicted evidence that enforcement of the Rule has required, and will continue to
 5   require, a diversion of resources, independent of expenses for this litigation, from their other
 6
     initiatives.” CA9 Op. *11. For example, Plaintiffs must develop new training materials, retrain
 7
     staff, conduct detailed screenings for alternative forms of relief, “submit a greater number of
 8
     applications for family-unit clients who would have otherwise been eligible for asylum,” and
 9
10   undertake new education and outreach initiatives, all of which require a diversion of resources away

11   from core organizational services. Id.; see also Mot. 10-11 (citing declarations). The Ninth Circuit

12   has repeatedly held that these types of impacts are sufficient to satisfy Article III. See Mot. 11
13   (collecting cases).
14
             Second, Plaintiffs have shown that “the Rule will cause them to lose a substantial amount of
15
     funding.” CA9 Op. *12; Mot. 8 (citing declarations); ECF No. 82-1 (Amicus States) at 8-9.
16
     Contrary to the government’s claim, see Opp. 6, Plaintiff EBSC has submitted unrebutted evidence
17
18   that they cannot maintain this funding by assisting asylum seekers who enter the country at ports of

19   entry. See ECF No. 71-10 (explaining why EBSC cannot represent asylum seekers who enter at
20   ports); Mot. 9.
21
             Because of these injuries, the Ninth Circuit held that Plaintiffs also have Article III standing
22
     to challenge the absence of notice-and-comment procedures. CA9 Op. *12 n.8; see also, e.g., ECF
23
     No. 35-10 ¶¶ 3-7; ECF No. 35-6 ¶¶ 2-4. The government offers no basis to hold otherwise.
24
25           The Ninth Circuit further held that Plaintiffs’ claims fall within the INA’s zone of interests.

26   CA9 Op. *12-14. 3 The government provides no basis to revisit that conclusion. The law is clear

27
     3
       For purposes of Plaintiffs’ APA notice-and-comment claim, the Ninth Circuit held that because Plaintiffs “are within
28   the zone of interests protected by the INA,” they “may challenge the absence of notice-and-comment procedures . . . .”



                                  Reply ISO Motion for Preliminary Injunction 2                  Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 5 of 13



     that a statute need not create a benefit for a plaintiff, nor even that there be “any ‘indication of
 1
 2   congressional purpose to benefit the would-be plaintiff.’” Match-E-Be-Nash-She-Wish Band of

 3   Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 & n.7 (2012). “[I]t is sufficient that the

 4   Organizations’ asserted interests are consistent with and more than marginally related to the
 5   purposes of the INA.” CA9 Op. *13.
 6
         II. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
 7
         A. The Rule Violates the INA.
 8
             As this Court and the Ninth Circuit have held, Plaintiffs are “likely to succeed on their claim
 9
10   that the Rule together with the Proclamation is inconsistent with 8 U.S.C. § 1158(a)(1).” CA9 Op.

11   *15. Defendants’ recycled arguments, see Opp. 9-13, do nothing to undermine this conclusion.

12   They continue to suggest that a categorical eligibility limitation established pursuant to 8 U.S.C.
13   § 1158(b)(2)(C) cannot violate § 1158(a)(1) because § 1158(a)(1) addresses only the right to apply
14
     for asylum, not eligibility for asylum. But that reading of the statute was properly rejected by this
15
     Court and the Ninth Circuit. As the Ninth Circuit explained: “It is the hollowest of rights that an
16
     alien must be allowed to apply for asylum regardless of whether she arrived through a port of entry if
17
18   another rule makes her categorically ineligible for asylum based on precisely that fact. . . . The

19   technical differences between applying for and eligibility for asylum are of no consequence to a
20   refugee when the bottom line—no possibility of asylum—is the same.” CA9 Op. *15; see also TRO
21
     Order 21 (similar).
22
             Moreover, the government’s suggestion that a § 1158(b)(2)(C) limitation necessarily cannot
23
     be inconsistent with § 1158(a)(1) because the former governs eligibility and the latter governs
24
25   applications is at odds with the plain text of the statute and is foreclosed by the Ninth Circuit, which

26   affirmed this Court’s analysis. See CA9 Op. * 15 (Section 1158(b)(2)(C) permits “‘additional

27   CA9 Op. *14. Plaintiffs preserve the argument that even parties who are not within a substantive statute’s zone of
     interests may still satisfy the zone of interests for an APA notice-and-comment claim. See Mot. 15-16 & n.3; TRO
28   Reply at 5 n.4.



                                  Reply ISO Motion for Preliminary Injunction 3                  Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 6 of 13



     limitations and conditions’ . . . only when ‘consistent’” with § 1158, but “the Attorney General’s rule
 1
 2   of decision is inconsistent with § 1158(a)(1).”). 4

 3           Defendants’ reliance on the Attorney General’s discretion and Lopez v. Davis, 531 U.S. 230

 4   (2001), see Opp. 12, is likewise foreclosed, as both this Court and the Ninth Circuit have rejected it.
 5   CA9 Op. *16 n.13; TRO Order 21.
 6
             Finally, the government accuses the Court of “misread[ing]” Article 31(1), arguing without
 7
     any citation that Article 31(1) does not protect individuals who transit through a third country before
 8
     seeking asylum. Opp. 13. But the Ninth Circuit agreed with this Court’s analysis. See CA9 Op.
 9
10   *16. And as amicus curiae Office of the United Nations High Commissioner for Refugees explains,

11   “Article 31(1)’s protections are available to refugees who have arrived in a State from their country

12   of origin after transiting through a third state.” ECF No. 81-1 at 13 n.4 (citing decisions from other
13   nations’ courts).
14
         B. The Rule Violates the APA’s Procedural Requirements.
15
             This Court and the Ninth Circuit both rejected the invocation of the good cause and foreign
16
     affairs exceptions. See CA9 Op. *19-20; TRO Order 25-29. Both also invited the government to
17
18   adduce evidence in support of those exceptions. See CA9 Op. *19-20; TRO Order 27, 29. The

19   government submitted the administrative record, but no other evidence. Therefore, the only open
20   question with regard to these exceptions is whether they are justified in light of the administrative
21
     record. Nothing in the administrative record remotely supports either exception.
22
             1. Unlike in Yassini v. Crosland, 618 F.2d 1356 (9th Cir. 1980), where the government
23
     submitted affidavits from high-level officials in support of the foreign affairs exception, id. at 1361,
24
25   here, the government points only to the Rule itself and two documents in the administrative record

26
     4
       As this Court previously recognized, Plaintiffs “do not argue that the Attorney General cannot adopt any limits that
27   render ineligible aliens who are authorized to apply for asylum.” TRO Order 21 n.16. Rather, they simply argue that the
     Attorney General cannot impose a categorical bar predicated on a factor that Congress singled out as one that does not
28   affect the right to seek asylum. Yet Defendants continue to invoke this strawman argument. See Opp. 11.



                                  Reply ISO Motion for Preliminary Injunction 4                 Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 7 of 13



     that are of no help, see Opp. 15.
 1
 2           First, the government points to the Rule’s assertion that the foreign affairs exception applies,

 3   83 Fed. Reg. at 55950-51, and a sentence in the Rule that states: “The United States has been

 4   engaged in sustained diplomatic negotiations with Mexico and the Northern Triangle countries . . .
 5   regarding the situation on the southern border, but those negotiations have, to date, proved unable to
 6
     meaningfully improve the situation,” id. at 55935. But both this Court and the Ninth Circuit already
 7
     considered the preamble to the Rule, so the government’s argument that it justifies the exception is
 8
     foreclosed. See CA9 Op. *18-20; TRO Order 25-28. Indeed, the Rule says nothing to support the
 9
10   claim that adhering to notice-and-comment procedures would undermine negotiations with Mexico

11   or the Northern Triangle countries.

12           Second, the government points to remarks made by President Trump just before
13   announcement of the Proclamation and Rule. See Opp. 15 (citing AR 484-91). But those remarks
14
     include nothing about the impact of a new policy on negotiations with Mexico or the Northern
15
     Triangle countries, let alone the impact of complying with the APA requirements. 5
16
             Third, the government points to a 2004 Memorandum of Understanding between the United
17
18   States and Mexico regarding the repatriation of Mexican nationals, see Opp. 15 (citing AR 92-96),

19   but offers no explanation as to its relevance, and none is apparent. That the United States once
20   successfully negotiated with Mexico regarding migration provides no evidence that immediate
21
     publication of the current Rule was necessary to avoid undesirable international consequences.
22
             Because the government still has not explained “how immediate publication of the Rule . . .
23
     is necessary for negotiations with Mexico,” CA9 Op. *19, the facts are as they were before the Ninth
24
25   Circuit. The result must therefore be the same. 6

26
     5
       In fact, President Trump’s remarks suggested that Mexico already was endeavoring to assist the United States with the
27   influx of migrants. See AR 485 (“The government of Mexico has generously offered asylum, jobs, education, and
     medical care for people within the caravan . . . . Mexico has agreed to take them in and encouraged them to stay.”).
28   6
       The record before the Ninth Circuit did not include the Joint Declaration of Former Government Officials submitted in



                                  Reply ISO Motion for Preliminary Injunction 5                  Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 8 of 13



              2. With regard to the good cause exception, the government urges the Court to limit its
 1
 2   consideration to the reasons stated in the Rule, see Opp. 16, but doing so is of no benefit to

 3   Defendants. The stated reasons were already held insufficient to show good cause when this

 4   question was previously before this Court and the Ninth Circuit.7
 5            The government points to two documents in the administrative record, see Opp. 16, but
 6
     neither bolsters the asserted justification. The first, a news article, states that smuggling guides in
 7
     Central America “now tell potential customers the Americans do not jail parents who bring
 8
     children—and to hurry up before they might start doing so again.” AR 391. But that statement does
 9
10   not demonstrate that migrants actually altered their behavior in response to the alleged change to the

11   family separation policy. In addition, the statement was about a very different policy, and so does

12   not show that asylum seekers would know about or alter their behavior in response to an
13   announcement regarding the availability of asylum to those who cross between ports. The article
14
     also suggests that the decline in single adults claiming fear of persecution and the increase in parents
15
     coming with children is related to the fact that families are not detained long-term. AR 393. But,
16
     again, the new Rule has nothing to do with detention, so whatever effect a change in detention policy
17
18   may have had on the evolving demographics of asylum seekers—a change that unfolded over many

19   years, not overnight, see AR 97—it is not evidence that migrants will learn of and be able and likely
20   to respond within a short window of time to the announcement of an upcoming change to the
21
     availability of asylum based on manner of entry.
22
              As to the second document, a set of credible fear origin data from November 2018, see AR
23
24   support of Plaintiffs, ECF No. 71-4. As Plaintiffs will explain in their Opposition to Defendants’ Motion to Strike Extra-
     Record Evidence, ECF No. 88, the Court can consider this evidence. Yet, as argued above, Defendants’ invocation of
25   the foreign affairs exception fails even if the Court looks only to the Rule and/or the administrative record.

26   7
       The government’s continued reference to prior interim final rules issued under the good-cause exception is misguided.
     As the Ninth Circuit recently underscored: “Because good cause is determined on a case-by-case basis, based on the
27   totality of the factors at play, prior invocations of good cause to justify different IFRs—the legality of which are not
     challenged here—have no relevance.” California v. Azar, No. 18-15144 (9th Cir. Dec. 13, 2018), slip op. at 26 (internal
28   quotation marks and citations omitted).



                                   Reply ISO Motion for Preliminary Injunction 6                  Case No. 18-cv-06810
           Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 9 of 13



     505-508, it contains nothing that would bear on the impact of a pre-implementation announcement
 1
 2   or comment period. See also TRO Order 29 (noting that some migrants cross between ports because

 3   of “lack of awareness of entry requirements or . . . imminent necessity”).

 4            As the Ninth Circuit explained, “the Government’s contention that the ‘very announcement
 5
     of the Rule itself would give aliens a reason to ‘surge’ across the southern border in numbers greater
 6
     than is currently the case” is an “inference too difficult to credit.” CA9 Op. *20. Because the
 7
     government still cannot provide any “plausible support” for its asserted justification, United States v.
 8
 9   Valverde, 628 F.3d 1159, 1166 (9th Cir. 2010), and continues to offer nothing more than

10   “conclusory speculative harms,” id. at 1167, the Ninth Circuit’s opinion requires the rejection of the
11   government’s arguments.
12
         III. THE BALANCE OF THE EQUITIES SHARPLY FAVORS PLAINTIFFS
13
              This Court and the Ninth Circuit concluded, based on the TRO record, that Plaintiffs are
14
     likely to suffer irreparable harm absent injunctive relief. TRO Order 31-32; CA9 Op. *21. The
15
16   government has offered no evidence to rebut Plaintiffs’ initial showing at the TRO stage, much less

17   evidence to rebut the additional declarations submitted by Plaintiffs with their preliminary injunction

18   motion, which further demonstrate that the Rule has caused and likely will continue to cause them to
19   suffer economic loss, frustration of mission, and diversion of resources—harms that are not able to
20
     be remedied after the fact. Mot. 16-17. Thus, the prior decisions control this issue as well. 8
21
22   8
       Defendants’ efforts to distinguish the cases Plaintiffs cite are inapt. See Opp. 20 n.10. Just like the plaintiffs in Open
     Comms. Alliance v. Carson, 286 F. Supp. 3d 148, 177-78 (D.D.C. 2017), Plaintiffs have submitted declarations
23   explaining the ways in which the Rule frustrates their ability to carry out their mission, perceptibly impairs their
     programs, and requires them to divert resources away from other services to address the Rule’s impact. Valle del Sol,
24   Exodus Refugee Immigration, and Doe were all previously briefed to either this Court or Ninth Circuit. They do not help
     the government. Valle del Sol concluded that the organizational plaintiffs showed “ongoing harms to their organizational
25   missions as a result of the statute.” 732 F.3d at 1029. And the district court in Exodus Refugee Immigration explained
     that “Exodus still could demonstrate irreparable harm based on temporary loss of funds.” 165 F. Supp. 3d at 739
26   (“Although the funding denied to Exodus could ultimately be reimbursed, Exodus has presented evidence that, in the
     interim, its organizational objectives would be irreparably damaged by its inability to provide adequate social services to
27   its clients. This . . . provides another basis to conclude that Exodus has made the necessary showing on [irreparable
     harm].”). Finally, in Doe v. Trump, the district court found irreparable harm to the organizational plaintiffs based on
28   their “claim that they will need to lay-off employees, reduce services, cancel established programs, lose institutional



                                   Reply ISO Motion for Preliminary Injunction 7                    Case No. 18-cv-06810
          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 10 of 13



             Nor have Defendants offered evidence indicating that this Court, and the Ninth Circuit, were
 1
 2   wrong to conclude they will not be irreparably injured by a preliminary injunction, see CA9 Op. *21;

 3   TRO Order 32-33, which would maintain the carefully reticulated asylum scheme Congress erected

 4   nearly 40 years ago, and is clearly in the public interest. Defendants again invoke the FY18
 5   apprehension numbers discussed in the Rule, see Opp. 17; 83 Fed. Reg. at 55944, but those figures
 6
     previously failed to persuade this Court and the Ninth Circuit.9 Perhaps that is why the government
 7
     ultimately admits that the total apprehension numbers are “irrelevant.” Opp. 17. The government’s
 8
     true purpose, it now seemingly concedes, is to deter Central American asylum seekers specifically.
 9
10   Id. at 18. But the fact that the number of individuals from the Northern Triangle asserting a credible

11   fear of persecution has gone up in recent years merely reflects the basic premise of the refugee

12   system: when more people are subject to persecution in their home countries, more people will flee
13   in search of safety. See ECF No. 35-9 ¶ 8.
14
             As the administrative record makes clear, the Northern Triangle is “one of the most violent
15
     regions in the world today.” AR 156. “For millions of people” in those countries, “trauma, fear and
16
     horrific violence are dominant facets of daily life.” Id.; see also ECF No. 35-7; ECF No. 71-4 ¶ 5b.
17
18   It therefore makes eminent sense that the Northern Triangle countries gave rise to the second, third,

19   and fourth most asylum grants in FY16 and FY17. AR 331. 10 Until now, individuals who crossed
20
21   knowledge, and ultimately lose goodwill with volunteers and community partners.” 288 F. Supp. 3d 1045, 1082 (W.D.
     Wash. 2017) (emphasis added). Plaintiffs have adduced similar evidence, see Mot. 16, and it likewise should be
22   credited.

23   9
      Indeed, the number of apprehensions between ports was higher in FY2016, FY2014, FY2013, and every year from
     FY2010 through FY1973. See AR 301; see also ECF No. 8-2 ¶¶ 3-5. At the same time, U.S. Customs and Border
24   Protection’s budget and staffing have doubled. ECF No. 8-2 ¶¶ 6-7. See also ECF No. 78-2 (Amicus 23 Organizations)
     at 3-5.
25
     10
       Furthermore, the government’s claim that only 17% of CFI-origin cases end in grants of asylum is inaccurate—and
26   almost certainly a substantial underestimate—because most CFI-origin cases, even including all cases begun over the last
     10 years, are still pending. Compare AR 442 (354,356 CFI-origin cases initiated in FY 2008-2018) with 83 Fed. Reg.
27   55945 (203,569 remained pending as of November 2, 2018). The cases that have already been decided—the ones the
     government is relying on—are disproportionately removals because the immigration courts are able to issue removal
28   orders quickly but often take years to grant relief. That, in turn, is because removal orders can be issued without



                                  Reply ISO Motion for Preliminary Injunction 8                  Case No. 18-cv-06810
          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 11 of 13



     between ports were never categorically denied asylum based only on their manner of entry, even
 1
 2   during previous years with high numbers of Central American asylum seekers. See AR 97. The

 3   government provides no reason why a preliminary injunction maintaining Congress’s longstanding

 4   asylum scheme will cause them irreparable injury. 11
 5            As to the government’s invocation of the separation of powers, the Ninth Circuit already held
 6
     that that claim does not alone constitute an irreparable injury. See CA9 Op *21. Moreover, “if there
 7
     is a separation-of-powers concern here, it is between the President and Congress, a boundary that
 8
     [courts] are sometimes called upon to enforce.” Id. at *17; see also TRO Order 32; Mot. 19.
 9
10            As this Court already determined, without an injunction, the public interest will be harmed

11   because there is a serious risk that individuals with legitimate asylum claims who cannot satisfy the

12   higher standards for withholding and CAT relief will be removed to countries where they are likely
13   to face serious harm. See Nken v. Holder, 556 U.S. 418, 436 (2009). Even those who are granted
14
     withholding or CAT relief will have lost the ability to receive asylum, a benefit Congress determined
15
     to be of value. See TRO Order 31. Departing from Congress’s determination that it is in the public
16
17
     individual hearings, and also because detained cases move more quickly than nondetained cases and are
18   disproportionately more likely to result in removal. See also ECF No. 35-2 (discussing flaws with in absentia data).

19   11
        Defendants note the Rule’s reference to noncitizens who die each year crossing the border, see Opp. 17, but, as this
     Court already explained, the only reference to the danger presented by crossings in the Rule itself is in the context of
20   quoting a 2004 rule. See TRO Order 33; PI Mo. 19. The Ninth Circuit, too, rejected the government’s assertions about
     deterring border crossings as implausible and vague. See CA9 Op. *21 ((“The Rule has no direct bearing on the ability
21   of an alien to cross the border outside of designated ports of entry: That conduct is already illegal. . . . [V]ague
     assertions that the Rule may ‘deter’ this conduct are insufficient” for irreparable harm. Moreover, there is evidence in
22   the record suggesting that the Government itself is undermining its own goal of channeling asylum-seekers to lawful
     entry by turning them away upon their arrival at our ports of entry.”). The government now cites additional sources in its
23   brief, see Opp. 17 n.8, but that data shows that border deaths have remained relatively constant between 1998 and 2018
     (ranging from 249 to 471), see id., even though, during the same period, the number of apprehensions at the southern
24   border has declined dramatically and the number of asylum seekers has increased, thus undermining any notion that there
     is a particularly acute crisis in border deaths now at hand.
25             Nor should the Rule’s invocation of the migrant caravan, see 83 Fed. Reg. 55935, 55947, affect the balance of
     the equities. The U.S. military expected only “about 20 percent” of the caravan to reach the United States. See Nick
26   Miroff & Missy Ryan, “Army assessment of migrant caravans undermines Trump’s rhetoric,” Washington Post (Nov. 2,
     2018), https://wapo.st/2JC2m4p. Many of the caravan’s members are expected seek asylum at a port of entry. See ECF
27   No. 8-2 ¶ 10; ECF No. 35-5 ¶ 9; Vanessa Romo, “LGBT Splinter Group from Migrant Caravan is the 1st to Arrive in
     Tijuana,” NPR (Nov. 13, 2018), https://www.npr.org/2018/11/13/667622622/lgbt-caravan-splinter-group-is-the-first-to-
28   arrive-in-tijuana.



                                   Reply ISO Motion for Preliminary Injunction 9                  Case No. 18-cv-06810
          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 12 of 13



     interest to give noncitizens a chance to obtain asylum irrespective of their manner of entry, see Mot.
 1
 2   20, is particularly acute when applied to individuals who are forced to cross between ports due to

 3   lack of knowledge, threats of violence, or other reasons of imminent necessity. 12 Furthermore, the

 4   Rule will force potential asylum seekers who are able to route to ports to risk exposure to serious
 5   harms while waiting to present their claims at ports of entry, including obstacles erected by the
 6
     government itself. 13 Finally, bipartisan former foreign policy and security officials advise that the
 7
     Rule is likely to undermine U.S. foreign policy objectives. See ECF No. 71-4 ¶ 10.
 8
              And, of course, the public interest is served by compliance with the laws Congress wrote.
 9
10   See Mot. 20; Alcaraz v. Block, 746 F.2d 593, 610 (9th Cir. 1984) (discussing public interest served

11   by notice-and-comment rulemaking); CA9 Op. *21 (“[T]he public . . . has an interest in ensuring that

12   ‘statutes enacted by [their] representatives’ are not imperiled by executive fiat.”) (quoting Maryland
13   v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers)).
14
          IV. NATIONWIDE RELIEF IS APPROPRIATE
15
              The Ninth Circuit upheld the nationwide scope of this Court’s Order, CA9 Op. *22, and the
16
     government simply recycles the same arguments the Ninth Circuit already rejected. See Mot. 20-
17
18   21. 14

19                                                    CONCLUSION
20            The Court should grant the preliminary injunction.
21
22
     12
      See ECF No. 8-4 ¶¶ 26-28; ECF No. 8-6 ¶ 14; ECF No. 35-4 ¶ 12; ECF No. 71-2 ¶¶ 4-14, 19; ECF No. 71-5 ¶¶ 19-20;
23   CA9 Op. *16-17.

24   13
       See, e.g., ECF No. 8-4 ¶¶ 29-41; ECF No. 35-1 ¶ 12; ECF No. 35-3 ¶¶ 3-9; ECF No. 35-4 ¶¶ 5-11; ECF No. 35-5 ¶¶ 5,
     7; ECF No. 71-2 ¶¶ 15, 21; ECF No. 71-5 ¶¶ 8-21; ECF No. 71-6 ¶¶ 5-6; ECF No. 71-7 ¶¶ 11-35; ECF No. 71-9 ¶¶ 12-
25   14; ECF No. 84-1 ¶¶ 14-18; ECF No. 82-1 (Amicus States) at 3-10; ECF No. 75-1 (Amici National Center for Lesbian
     Rights et al.) at 1-2, 5-9.
26
     14
       The only new argument offered by the government is that this Court cannot enjoin the Rule to the extent it amends the
27   expedited removal procedures, because a challenge to expedited removal procedures must be brought in the District of
     Columbia under 8 U.S.C. § 1252(e)(3). Opp. 21-22. But at both the TRO hearing and in their PI brief, the government
28   did not even concede that Plaintiffs could bring a challenge under § 1252(e)(3).



                                 Reply ISO Motion for Preliminary Injunction 10                  Case No. 18-cv-06810
          Case 3:18-cv-06810-JST Document 92 Filed 12/14/18 Page 13 of 13



 1
     Dated: December 14, 2018                            Respectfully submitted,
 2
                                                         /s/Lee Gelernt
 3   Jennifer Chang Newell (SBN 233033)                  Lee Gelernt*
     Cody Wofsy (SBN 294179)                             Judy Rabinovitz*
 4   Spencer Amdur (SBN 320069)                          Omar C. Jadwat*
     Julie Veroff (SBN 310161)                           Celso Perez (SBN 304924)
 5   ACLU FOUNDATION                                     ACLU FOUNDATION
     IMMIGRANTS’ RIGHTS PROJECT                          IMMIGRANTS’ RIGHTS PROJECT
 6   39 Drumm Street                                     125 Broad Street, 18th Floor
     San Francisco, CA 94111                             New York, NY 10004
 7   T: (415) 343-0770                                   T: (212) 549-2660
     F: (415) 395-0950                                   F: (212) 549-2654
 8   jnewell@aclu.org                                    lgelernt@aclu.org
     cwofsy@aclu.org                                     jrabinovitz@aclu.org
 9   samdur@aclu.org                                     ojadwat@aclu.org
     jveroff@aclu.org                                    cperez@aclu.org
10
     Melissa Crow*                                       Christine P. Sun (SBN 218701)
11   SOUTHERN POVERTY LAW CENTER                         Vasudha Talla (SBN 316219)
     1666 Connecticut Avenue NW, Suite 100               AMERICAN CIVIL LIBERTIES UNION OF
12   Washington, D.C. 20009                              NORTHERN CALIFORNIA, INC.
     T: (202) 355-4471                                   39 Drumm Street
13   F: (404) 221-5857                                   San Francisco, CA 94111
     melissa.crow@splcenter.org                          T: (415) 621-2493
14                                                       F: (415) 255-8437
     Mary Bauer*                                         csun@aclu.org
15   SOUTHERN POVERTY LAW CENTER                         vtalla@aclu.org
     1000 Preston Avenue
16   Charlottesville, VA 22903                           Baher Azmy*
     T: (470) 606-9307                                   Angelo Guisado*
17   F: (404) 221-5857                                   Gita Schwarz*
     mary.bauer@splcenter.org                            CENTER FOR CONSTITUTIONAL RIGHTS
18                                                       666 Broadway, 7th Floor
     Attorneys for Plaintiffs                            New York, NY 10012
19                                                       T: (212) 614-6464
     *Admitted pro hac vice                              F: (212) 614-6499
20                                                       bazmy@ccrjustice.org
                                                         aguisado@ccrjustice.org
21                                                       gschwartz@ccrjustice.org

22
23
24
25
26
27
28

                                Reply ISO Motion for Preliminary Injunction 11     Case No. 18-cv-06810
